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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

STATE OF MISSOURI, et al.,                      )
                                                )
        Plaintiffs,                             )
                                                )
   v.                                           )          No. 4:24-cv-00520-JAR
                                                )
JOSEPH R. BIDEN, Jr., et al.,                   )
                                                )
        Defendants.                             )

                                PRELIMINARY INJUNCTION

        IT IS HEREBY ORDERED that Defendants are preliminarily enjoined from any further

loan forgiveness for borrowers under the Final Rule’s SAVE plan until such time as this Court

can decide the case on the merits.

        IT IS FURTHER ORDERED that the Court will issue a separate Scheduling Order.

        Dated this 24th day of June, 2024.


                                                ________________________________
                                                JOHN A. ROSS
                                                UNITED STATES DISTRICT JUDGE
